         Case 1:18-md-02865-LAK          Document 364         Filed 06/23/20      Page 1 of 1




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK                                         MASTER DOCKET
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION                                           18-md-2865 (LAK)

 This document relates to: 1:18-cv-05374; 1:18-
 cv-08655



                                   DECLARATION OF ERIC SMITH

         I, Eric Smith, hereby declare as follows:

         1.     I am an attorney at Kostelanetz & Fink LLP, counsel for Third-Party Plaintiffs and

Defendants-in-Counterclaim Del Mar Asset Management Savings and Retirement Plan (the “Del

Mar Plan”) and Federated Logistics LLC 401(K) Plan (the “Federated Plan’) (together, the

“Plans”).

         2.     I submit this Declaration in support of the Plans’ reply memorandum of law in

further support of their motion to dismiss the counterclaim of Third-Party Defendant and

Counterclaimant ED&F Man Capital Markets Ltd. (the “Motion”).

         3.     Attached hereto as “Exhibit 1” is a true and correct copy of ED&F Man’s Re-

Amended Defence filed in the English Action.

         I declare under penalty of perjury that the foregoing is true and correct.


Dated: New York, New York
       June 23, 2020
                                                      /s/ Eric Smith
                                                     ERIC SMITH
